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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF GEORGIA
                                     MACON DIVISION

UNITED STATES OF AMERICA                           :
                                                   :
      v.                                           :
                                                   : CASE NO. 5:21-CR-41
JOE BREWER,                                        :
                                                   :
               Defendant.                          :

                  ORDER DISMISSING INDICTMENT AS TO JOE BREWER


           Before the Court is the Government’s Motion to Dismiss Indictment as to Defendant Joe

  Brewer. The Government has indicated that newly discovered information warrants dismissal of

  this case.

           The Court, having reviewed the motion, finds good cause exists to grant the Government’s

  motion to dismiss. Accordingly, pursuant to Rule 48(a), the charges against Defendant Joe Brewer

  are DISMISSED.

           SO ORDERED, this 31st day of May, 2022.




                                               S/ Marc T. Treadwell
                                               MARC T. TREADWELL, CHIEF JUDGE
                                               UNITED STATES DISTRICT COURT
